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                                                                        Page I of4



                                                                Messase0l19



                                      12/1/20087:24:24 PM
                                        urtis'



              I will let you know when. I will ask Tom to go for                 a   moming---9/9:30 a good time?



       rom: Curtis [mailto:effnbks@myedl.com]
     Sent: Monday, December 01,2008 6:21 PM
       o: 'Mimi Vigil'



                           This email is best as I access it at both my home and work.

       es,        I can do during the day. I just need a little advanced notice so I can do the travel time to get
                   and notification time for my boss. Otherwise I am open to most any time. Momings would
                   best for me as I am already down there to begin with.


                      Morris

                               Message-----
       rom: Mimi Vigil [mailto:mimiv07@comcast.net]
           Monday, December 01, 2008 5:43 PM

                       :   RE: Question

        k, Tom and John will probably be interested in meeting with him--me too if it's not too many
         us---we don't want to overwhelm him. Tom will call me tomorrow about setting up a meeting.
           you do this during the day on a weekday?? What would be a good time for you so Tom can
              for tllat?


       will only             use this email   if it's easier for you..........



       rom: Curtis [mailto:effnbks@myedl.com]
            Monday, December 01, 2008 5:33 PM
       o: 'Mimi Vigil'
             : RE: Question

       am interested in meeting with him yes. I think Larry would be interested but I don't know if he
             to attend.
       am interested in conversing with him about Bonds and Notes to back him as well as to fund



frle l l lT   :   l   Criminal/Brokaw/SW%o2lltemYo2\             l0   heportlBxportl 267 87 8.html                  7/24/2014
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           ther entities.
             rry I keep sending from my work account and don't mean to. It gets me confused.

            urtis Morris

                             Message-----
                        Mimi Vigil [mailto:mimiv07@comcast.net]
                  : Monday, December 01, 2008 5:04 PM
        o: Curtis Morris
       Subject: RE: Question

       I have heard ofdoing this before, and did it a few years ago on a personal bank account. The
              ning at that time was to protect you from the bank being able to take any funds out and give




                                                                                                                    幸 ｆ靴縦 ／
              to irs, etc. So in effect, that must have been the result. I also gave the bank the UCCI after
                g the account. I did not do a UCC-3, only a UCC-I on the account.
        f this is true, that you privatize the account, then you should be able to use it to access your
           imited treasury set off account. That means you write checks on the account, and the bank has
          honor them or "pay" whoever you write the checks to, but you don't have to deposit any funds
          the account!! What a deal.
            you still want to meet with the president of the 1st Nat'l in Monument??? ljust talked to Tom
                 , and he is willing to set up a meeting. Would it be you and Larry meeting with him??




            rom: Curtis Morris [mailto:cmonis@partpoint.net]
             nt: Monday, December 01 , 2008 I 1 : 15 AM
            'o:   Mimi Vigil
               bject: Question


       I    just read this in one place. Do you know what they mean by this thought? They are speaking
                t opening a new bank account.

            don't think they have the choice of rejecting the UCC-1, but I would recommending opening the
               unt before giving them the UCC filing. I didn't actually give them the UCC-1. After opening
              account,I came back with al」 CC‑3 nanling thc bank and a partial ofthc bank account
                  r, and merely told them to attach it to my signature card, which they did. The fellow didn't
                       it, and didn't think there would be any harm in it. A friend did the same thing, and the
              told him, "Do you know what you just did? You privatized the account."




                              NOD32 3654 (20081201) Information

               is rnessage was checked by NC)D32 antivirus system.
                  ://www.eset.com


                              NOD32 3655 (20081201) Information



fiJe   :   I I lT : I   Criminal/Brokaw/SW%20ltem%o20   I O/report/E   xport/ 267 878.html              7/24/2014
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          ; message was checked by   NOD32 antivirus system.
          ://www.eset.com


                   NOD32 3655 (20081201) Information

            message was checked by NOD32 antivirus system.
          ://www.eset.com



                                       Outlook Header Information
               on Topic: Question
             Name: Mimi Vigil

        livery Time: 12/l/2008 7:24'.24 PM
            on Timc:12/2/20087:41:17 AM
                  Tiinc:12/2/20087:44:53 AM
       ubmit Tllnc:12/1/20087:24:35 PM

       izc:31100
                                       Standard Header Information
                Path: <mimiv07@comcast.net>
         -Original-To : effnbks@myedl.com
                   To: effnbks@myedl.com
        eceived: from k0Tl.smtproutes.com (k0Tl.smtproutes.com [208.70.89. I 71])
       by mail.myedl.com (Postfix) with ESMTP id 5961C5COB6
       for <effnbks@myedl.com>; Mon, 1 Dec 2008 19:24:24 -0700 (MST)
         -KatharionJD: 1228184663.29 121.k07 1 (2.4)
        eceived: from QMTA03.emeryville.ca.mail.comcast.net ([7 6.96.30.32])
        by k071 smtproutcs com([1921682171])
        、vi」 h ESMTP via TCP;02 Dec 2008 02:24:19‐ 0000

             ived: from OMTAO9.emeryville.ca.mail.comcast.net ([76.96.30.20])
       by QMTAO3.emeryville.ca.mail.comcast.net with comcast
       id ml1m1a0060S2flCA32QKKd; Tue, 02 Dec 2008 02:24:19 +0000
        eceived: from mobilel ([75.70.129.1 89])
       by OMTAO9.emeryville.ca.mail.comcast.net with comcast
       id m2QJ1a00D45KHCj8V2QJA1 ; Tue, 02 Dec 2008 02:24:19 +0000
         -Authority-Analysis: v:1.0 c:\ a:nU,tTZ29dAAAA:8 a=2f,<21m0E6gSatq5_JaAA:9
       a=SvldTrUvsYxc巧 yGVfYA:7a=Ll LrUXC58NOIIttbqby4PtRahUA:4a=VIMIwClcPPU8A:10
       a=Si9(L4b84HOA:10a=WUCWヽ N61PIsA:10a=OHbQqGD8AL8A:10a=SSmOFEACAAAA:8
       a=2Mih4 tmblUF Gv8DVUA:9a=PVGbSzbⅥ ,3可 5Gけ ‑lIA:7
       a=DyIHm2cHdK3HE̲csGEo7g2RmLkcA:4a=AfD3MYMu9mQA:10
       rom:‖ Mimi Vigil"く mim市 07@comcaSt      ne)
          "'Curtis"' <effnbks@myedl.com>
          ect: RE: Question
           : Mon, 1 Dec 2008 19:24:35 -0700
             -Version: I .0
              -Type : multipart/altemative;



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           boundary="… ……                       00A7 01C953EA.7226D510"
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             -MimeOLE: Produced By Microsoft MimeOLE V6.00.2900.3350
                  Index : AclUHEFpmJgeW4svRhSXZ6M+yTYu5 gACMLiQ
                          To:<18EEE36F5851lD45844F8BE08B4DC691ACOA8D@partpOint̲
                          ―
                    .PARTpoint.local>
                       Id:<20081202022424.5961C5COB6@mail・ myedl.com>




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